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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION




CONGHAU HUU TO,

                                                         Case No. 8:14-cv-1453-T-17TBM
                                                                 8:94-cr-293-T-17TBM
v.

UNITED STATES OF AMERICA,
______________________________

                                               ORDER

        This cause is before the Court on Huu To’s 28 U.S.C. § 2255 motion to vacate, set

aside, or correct an illegal sentence. (Doc. cv-1; cr-659). Hoo Tu challenges the validity

of his sentences in his criminal case based Alleyne v. United States, 133 S. Ct. 2151

(2013).

        Rule 4, Rules on Motions Attacking Sentence Under Section 2255, requires both a

preliminary review of the motion to vacate and a summary denial “[i]f it plainly appears from

the face of the motion to vacate and any exhibits annexed to it that the defendant is not

entitled to relief in the district court. . . .”

        In 1999, Huu To challenged this same conviction in 8:99-cv-1458-T-17. (Doc. cr-

544). The motion to vacate was denied on the merits. (Doc. cr-565, 566). The United

States Court of Appeals for the Eleventh Circuit denied Huu To’s motion for a certificate of

appealability. (Doc. cr-574). Now, Huu To seeks to challenge the same sentence in the

present motion to vacate.
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       Huu To is precluded from pursuing a second or successive petition without

permission from the Eleventh Circuit Court of Appeals. “Before a second or successive

application permitted by this section is filed in the district court, the applicant shall move in

the appropriate court of appeals for an order authorizing the district court to consider the

application.” 28 U.S.C. § 2244(b)(3)(A). Felker v. Turpin, 518 U.S. 615, 664 (1996); Dunn

v. Singletary, 158 F.3d 440, 442 (11th Cir. 1999).

       Whether Alleyne permits Huu To’s filing a second or successive motion to vacate

for the circuit court to determine. This court lacks jurisdiction to review Huu To’s motion to

vacate until the circuit court grants Huu To permission to file a second or successive motion

to vacate. Burton v. Stewart, 549 U.S. 147, 157 (2007)(“Burton neither sought nor received

authorization from the Court of Appeals before filing his 2002 petition, a ‘second or

successive’ petition challenging his custody, and so the District Court was without

jurisdiction to entertain it.”).

       Accordingly, the Court orders:

       That Huu To’s motion to vacate petition is dismissed as second or successive

without permission from the circuit court. The Clerk is directed to close this case.

                        CERTIFICATE OF APPEALABILITY AND
                    LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

       The Court declines to issue a certificate of appealability because Defendant has

failed to make a substantial showing of the denial of a constitutional right as required by 28

U.S.C. § 2253(c)(2). Nor will the Court authorize the Defendant to proceed on appeal in

forma pauperis because such an appeal would not be taken in good faith. See 28 U.S.C.

§ 1915(a)(3). Defendant shall be required to pay the full amount of the appellate filing fee


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pursuant to § 1915(b)(1) and (2).

      ORDERED at Tampa, Florida, on June 20, 2014.




Conghau Huu To




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